  Fill in this information to identify the case:
  Debtor 1              Eleanor J. Giamusso
  Debtor 2
  (Spouse, if filing)
  United States Bankruptcy Court for the: Middle District of Pennsylvania (Wilkes-Barre)
  Case number           16-04155

Official Form 410S2
Notice of Postpetition Mortgage Fees, Expenses, and Charges                                                                                 12/16


If the debtor¶s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor's
principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the bankruptcy filing that you assert
are recoverable against the debtor or against the debtor's principal residence.

File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.

                   Wells Fargo Bank, National Association, successor by merger to Wells Fargo Bank Minnesota, National Association, f/k/a
                   Norwest Bank Minnesota, National Association as Trustee for First Union Home Equity Loan Trust 1997-3, Home Equity Loan
 Name of Creditor: Asset-Backed Certificates, Series 1997-3
 Last 4 digits of any number you use to identify
 the debtor's account:      7997                                                Court claim no. (if known): 1
 Uniform Claim Identifier: WFCMGE1604155PAM61227997

 Does this notice supplement a prior notice of postpetition fees,
 expenses, and charges?
                No
                Yes. Date of the last notice

Part 1:          Itemized Postpetition Fees, Expenses, and Charges
Itemize the fees, expenses, and charges incurred on the debtor¶s mortgage account after the petition was filed. Do not include any escrow account
disbursements or any amounts previously itemized in a notice filed in this case. If the court has previously approved an amount, indicate that
approval in parentheses after the date the amount was incurred.

            Description                                                       Dates Incurred                                            Amount

    1. Late charges                                                                                                             (1) $            0.00
    2. Non-sufficient funds (NSF) fees                                                                                          (2) $            0.00
    3. Attorney fees                                                                                                            (3) $            0.00
    4. Filing fees and court costs                                                                                              (4) $            0.00
    5. Bankruptcy/Proof of claim fees                                                                                           (5) $            0.00
    6. Appraisal/Broker's price opinion fees                                                                                    (6) $            0.00
    7. Property inspection fees                                                                                                 (7) $            0.00
    8. Tax advances (non-escrow)                                               08/01/2019; 08/01/2019                           (8) $       2,125.51
    9. Insurance advances (non-escrow)                                                                                          (9) $            0.00
    10. Property preservation expenses. Specify:                                                                               (10) $            0.00
    11. Other. Specify:                                                                                                        (11) $            0.00
    12. Other. Specify:                                                                                                        (12) $            0.00
    13. Other. Specify:                                                                                                        (13) $            0.00
    14. Other. Specify:                                                                                                        (14) $            0.00
The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid. See 11 U.S.C. § 1322(b)(5) and
Bankruptcy Rule 3002.1.

The CM/ECF system imposes certain constraints, including limits on the number of characters that may be entered into certain fields, when filing a
proof of claim. As a result of these constraints and limitations, the creditor name that appears on the bankruptcy court¶s claims register (and any
supplemental proof of claim) may differ from the creditor name that appears on the actual proof of claim form.




                Case
 Official Form 410S2       5:16-bk-04155-MJC
                                         Notice of Doc       Filed
                                                   PostPetition     08/19/19
                                                                Mortgage          Entered
                                                                         Fees, Expenses,     08/19/19 11:21:10
                                                                                         and Charges                           Desc        page 1
 0-40127d62-1d59-4a41-89dd-f72604faa7cb-         Main Document              Page 1 of 3
Debtor 1 Eleanor J. Giamusso                                                         Case number (if known)      16-04155
            First Name               Middle Name              Last Name


Part 2:      Sign Here

  The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone number.
  Check the appropriate box:
     I am the creditor.
      I am the creditor's authorized agent.   (Attach a copy of power of attorney, if any.)

  I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my knowledge, information,
  and reasonable belief.
          /s/ Melissa Ann Anderson                                           Date 08/19/2019
          Signature




  Print: Melissa Ann Anderson                                                Title    VP Loan Documentation
          First Name            Middle Name              Last Name

   Specific Contact Information:                                              Wells Fargo Bank, N.A.
   P: 800-274-7025                                                            MAC N9286-01Y
   E: 180DayInquiries@wellsfargo.com                                          1000 Blue Gentian Road
                                                                              Eagan, MN 55121-7700




                Case
 Official Form 410S2     5:16-bk-04155-MJC
                                       Notice of Doc       Filed
                                                 PostPetition     08/19/19
                                                              Mortgage          Entered
                                                                       Fees, Expenses,     08/19/19 11:21:10
                                                                                       and Charges                              Desc         page 2
 0-40127d62-1d59-4a41-89dd-f72604faa7cb-       Main Document              Page 2 of 3
                             UNITED STATES BANKRUPTCY COURT
                                                  Middle District of Pennsylvania (Wilkes-Barre)
                                                                             Chapter 13 No. 16-04155
 In re:                                                                      Judge: Chief Judge Robert N. Opel II
 Eleanor J. Giamusso
                                                    Debtor(s).

                                                     CERTIFICATE OF SERVICE
 I hereby certify that on or before August 19, 2019, I served a copy of this Notice and all attachments upon each of the entities named below by
 the court's notice of electronic filing or by placing a copy thereof in an envelope, in the United States Mail with first class mail postage prepaid,
 addressed to each of them as follows:

 Debtor:                     By U.S. Postal Service First Class Mail Postage Prepaid:
                             Eleanor J. Giamusso
                             165 Tompkins Street
                             Pittston, Pa 18640



 Debtor's Attorney:          By U.S. Postal Service First Class Mail Postage Prepaid:
                             Ronald V. Santora
                             Bresset and Santora
                             1188 Wyoming Avenue
                             Forty Fort, PA 18704


 Trustee:                    By U.S. Postal Service First Class Mail Postage Prepaid:
                             Charles J DeHart, III (Trustee)
                             8125 Adams Drive, Suite A
                             Hummelstown, PA 17036




                                                                             /s/ John Shelley
                                                                             InfoEx, LLC
                                                                             (as authorized agent for Wells Fargo Bank, N.A.)




                 Case 5:16-bk-04155-MJC
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                                                       Doc Filed 08/19/19 Entered 08/19/19 11:21:10                                Desc
                                                       Main Document   Page 3 of 3
